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                   IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND


 SAIM SARWAR, Individually,

               Plaintiff,
 v.
                                               Case No.: 8:20-cv-3128
 NORTHEAST INVESTMENT GROUP
 LLC,

             Defendants.
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                    NOTICE OF DISMISSAL [FRCP 41(A)]

      Plaintiff, by and through undersigned counsel, hereby notifies this Court
pursuant to FRCP 41(a)(1)(A)(i) that this action is dismissed with prejudice as
to all claims, causes of action, and parties, with each party bearing that party’s
own attorney’s fees and costs.
Dated: January 15, 2021

/s/ Tristan W. Gillespie, Esq.
Tristan W. Gillespie, Esq.

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